                                           Case 8:23-bk-10571-SC      Doc 1310 Filed 06/06/24 Entered 06/06/24 08:23:48              Desc
                                                                       Main Document     Page 1 of 15



                                             1    Keith C. Owens (Bar No 184841)                    D. Edward Hays (Bar No. 162507)
                                                  Nicholas A. Koffroth (Bar No. 287854)             Laila Masud (Bar No. 311731)
                                             2    FOX ROTHSCHILD LLP                                MARSHACK HAYS WOOD LLP
                                                  10250 Constellation Blvd., Suite 900              870 Roosevelt
                                             3    Los Angeles, CA 90067                             Irvine, CA 92620
                                                  Telephone:    (310) 598-4150                      Telephone:    (949) 333-7777
                                             4    Facsimile:    (310) 556-9828                      Facsimile:    (949) 333-7778
                                                  kowens@foxrothschild.com                          ehays@marshackhays.com
                                             5    nkoffroth@foxrothschild.com                       lmasud@marshackhays.com
                                             6    Counsel for Official Committee of Unsecured       General Counsel for Chapter 11 Trustee
                                                  Creditors
                                             7

                                             8                           UNITED STATES BANKRUPTCY COURT
                                                                          CENTRAL DISTRICT OF CALIFORNIA
                                             9                                  SANTA ANA DIVISION

                                            10    In re:                                        Chapter 11
                                            11
                                                  THE LITIGATION PRACTICE GROUP,                Case No. 8:23-bk-10571-SC
10250 Constellation Boulevard, Suite 900




                                            12    P.C.,
     Los Angeles, California 90067




                                                                                                NOTICE OF HEARING ON JOINT
       FOX ROTHSCHILD LLP



         (310) 556-9828 (fax)




                                            13                                                  MOTION OF THE CHAPTER 11
           (310) 598-4150




                                                           Debtor.                              TRUSTEE AND OFFICIAL
                                            14                                                  COMMITTEE OF UNSECURED
                                                                                                CREDITORS FOR: (I) APPROVAL OF
                                            15
                                                                                                MODIFIED CONFIRMATION
                                            16                                                  DEADLINES; (II) APPROVAL OF
                                                                                                FORMS OF NOTICE AND BALLOTS
                                            17                                                  RELATED TO CONFIRMATION; AND
                                                                                                (III) ENTRY OF MODIFIED ORDER
                                            18                                                  APPROVING FIRST AMENDED
                                                                                                DISCLOSURE STATEMENT,
                                            19
                                                                                                CONFIRMATION PROCEDURES, AND
                                            20                                                  GRANTING RELATED RELIEF

                                            21                                                  Hearing Date and Time
                                                                                                Date: June 13, 2024
                                            22                                                  Time: 1:30 p.m.
                                                                                                Place: In Person or Via ZoomGov
                                            23
                                                                                                       Courtroom 5C
                                            24                                                         411 West Fourth Street
                                                                                                       Santa Ana, California 92701
                                            25

                                            26

                                            27

                                            28
                                                                                                1
                                                 159409751.1
                                           Case 8:23-bk-10571-SC          Doc 1310 Filed 06/06/24 Entered 06/06/24 08:23:48                 Desc
                                                                           Main Document     Page 2 of 15



                                             1             PLEASE TAKE NOTICE that, on June 5, 2024, the Official Committee of Unsecured

                                             2   Creditors (the “Committee”) of The Litigation Practice Group P.C. (the “Debtor”), in the above-

                                             3   referenced bankruptcy case (the “Bankruptcy Case”) pending under chapter 11 of title 11 of the

                                             4   United States Code (the “Bankruptcy Code”)1 and Richard A. Marshack, in his capacity as the chapter

                                             5   11 trustee of the Debtor (the “Trustee” and, together with the Committee, the “Plan Proponents”) file

                                             6   the Joint Motion of the Chapter 11 Trustee and Official Committee of Unsecured Creditors for: (I)

                                             7   Approval of Modified Confirmation Deadlines; (II) Approval of Forms of Notice and Ballots Related

                                             8   to Confirmation; and (III) Entry of Modified Order Approving First Amended Disclosure Statement,

                                             9   Confirmation Procedures, and Granting Related Relief [Docket No. 1301] (the “Motion”).

                                            10   Concurrently with the filing of the Motion, the Plan Proponents filed an Application for Order Setting

                                            11   Hearing on Shortened Notice [Docket No. 1302] (the “Application”) requesting that the Court enter
10250 Constellation Boulevard, Suite 900




                                            12   an order setting the hearing on the Motion on shortened notice.
     Los Angeles, California 90067
       FOX ROTHSCHILD LLP



         (310) 556-9828 (fax)




                                            13             PLEASE TAKE FURTHER NOTICE that, as set forth more fully in the Motion, the Plan
           (310) 598-4150




                                            14   Proponents request that the following relief from the Court: (i) approval of modified deadlines related

                                            15   to confirmation of the First Amended Joint Chapter 11 Plan of Liquidation (Dated May 22, 2024)

                                            16   [Docket No. 1273] (the “Plan”) set forth herein (the “Modified Deadlines”); (ii) entry of the order,

                                            17   substantially in the form attached to the Notice of Lodgment of Order in Bankruptcy Case [Docket

                                            18   No. 1276] (the “Notice of Lodgment”) as modified in the version attached to the Motion as Exhibit

                                            19   A to provide for the Modified Deadlines (the “Modified Disclosure Statement Order”); (iii) approval

                                            20   of the confirmation notices and ballots, substantially in the form attached to the Notice of Exhibits to

                                            21   Proposed Order [Docket No. 1275] (the “Exhibits Notice”) as modified in the versions attached to

                                            22   the Motion as Exhibit B through Exhibit F to provide for the Modified Deadlines; and (iv) related

                                            23   relief as set forth more fully herein. The Motion is supported by the Plan, the Disclosure Statement,

                                            24   any supplements to the foregoing filed before the hearing on the Motion, the record in this Bankruptcy

                                            25   Case, the arguments of counsel at any hearing on the Motion, and any other admissible evidence

                                            26   properly brought before the Court at or before the hearing on this Motion.

                                            27

                                            28   1
                                                     Unless otherwise noted, all references to “Section” or “§” refer to a section of the Bankruptcy Code.
                                                                                                      1
                                                 159409751.1
                                           Case 8:23-bk-10571-SC       Doc 1310 Filed 06/06/24 Entered 06/06/24 08:23:48                 Desc
                                                                        Main Document     Page 3 of 15



                                             1           PLEASE TAKE FURTHER NOTICE that, on June 5, 2024, the Court entered an order

                                             2   [Docket No. 1304] (the “Order”) granting the Application. A true and correct copy of the Order is

                                             3   attached hereto as Exhibit A. As set forth more fully in the Order, the Court will hold a hearing on

                                             4   the Motion on June 13, 2024, at 1:30 p.m., in Courtroom 5C, located at 411 W. Fourth Street, Santa

                                             5   Ana, CA 92701.

                                             6           PLEASE TAKE FURTHER NOTICE that parties may view the Motion and related

                                             7   documents for free through the case website maintained by Omni Agent Solutions, which can be

                                             8   viewed at https://omniagentsolutions.com/LPG. Parties may also access copies of these documents

                                             9   on the Court’s docket for a charge through PACER, which can be accessed at www.cacb.uscourts.gov.

                                            10           PLEASE TAKE FURTHER NOTICE that any party wishing to appear at the hearing

                                            11   should review the Court’s tentative ruling prior to the hearing, which will provide information on
10250 Constellation Boulevard, Suite 900




                                            12   whether in-person appearances are required and any remote access information for the hearing on the
     Los Angeles, California 90067
       FOX ROTHSCHILD LLP



         (310) 556-9828 (fax)




                                            13   Motion. Parties are directed to obtain accessibility information on Judge Clarkson’s posted
           (310) 598-4150




                                            14   hearing       calendar      which       may       be      viewed      online      at:      http://ecf-

                                            15   ciao.cacb.uscourts.gov/CiaoPosted/?jid=SC.

                                            16           PLEASE TAKE FURTHER NOTICE that, pursuant to the Order, any party opposing or

                                            17   responding to the Motion must file and serve the response (“Response”) in the manner set forth in the

                                            18   Order, pursuant to 9013-1(f), on the Plan Proponents and the United States Trustee not later than June

                                            19   12, 2024, at 3:00 p.m. A Response must be a complete written statement of all reasons in opposition

                                            20   thereto or in support, declarations and copies of all evidence on which the responding party intends

                                            21   to rely, and any responding memorandum of points and authorities.

                                            22           PLEASE TAKE FURTHER NOTICE that, pursuant to LBR 9013-1(h), the failure to file

                                            23   and serve a timely objection to the Motion may be deemed by the Court to be consent to the relief

                                            24   requested therein.

                                            25   ///

                                            26   ///

                                            27   ///

                                            28   ///
                                                                                                   2
                                                 159409751.1
                                           Case 8:23-bk-10571-SC      Doc 1310 Filed 06/06/24 Entered 06/06/24 08:23:48           Desc
                                                                       Main Document     Page 4 of 15



                                             1           DATED this 5th day of June, 2024.

                                             2
                                                  FOX ROTHSCHILD LLP                             MARSHACK HAYS WOOD LLP
                                             3

                                             4    By:   /s/ Nicholas A. Koffroth                 By:
                                                     Keith C. Owens (Bar No. 184841)                D. Edward Hays (Bar No. 162507)
                                             5       Nicholas A. Koffroth (Bar No. 287854)          Laila Masud (Bar No. 311731)
                                                     Constellation Place                            870 Roosevelt
                                             6       10250 Constellation Blvd., Suite 900           Irvine, California 92620
                                                     Los Angeles, California 90067               General Counsel for Chapter 11 Trustee
                                             7    Counsel for the Committee
                                             8

                                             9

                                            10

                                            11
10250 Constellation Boulevard, Suite 900




                                            12
     Los Angeles, California 90067
       FOX ROTHSCHILD LLP



         (310) 556-9828 (fax)




                                            13
           (310) 598-4150




                                            14

                                            15

                                            16

                                            17

                                            18

                                            19

                                            20

                                            21

                                            22

                                            23

                                            24

                                            25

                                            26

                                            27

                                            28
                                                                                             3
                                                 159409751.1
Case 8:23-bk-10571-SC   Doc 1310 Filed 06/06/24 Entered 06/06/24 08:23:48   Desc
                         Main Document     Page 5 of 15



                                   Exhibit A
          Case 8:23-bk-10571-SC                   Doc 1310
                                                      1304 Filed 06/06/24
                                                                 06/05/24 Entered 06/06/24
                                                                                  06/05/24 08:23:48
                                                                                           17:09:38                                        Desc
                                                   Main
                                                    MainDocument
                                                         Document Page 6  1 of 15
                                                                               4

 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 Keith C. Owens (Bar No 184841)
 Nicholas A. Koffroth (Bar No. 287854)                                                                    FILED & ENTERED
 FOX ROTHSCHILD LLP
 10250 Constellation Blvd., Suite 900
 Los Angeles, CA 90067                                                                                            JUN 05 2024
 Telephone: (310) 598-4150
 Facsimile: (310) 556-9828
 kowens@foxrothschild.com                                                                                   CLERK U.S. BANKRUPTCY COURT
                                                                                                            Central District of California
 nkoffroth@foxrothschild.com                                                                                BY bolte      DEPUTY CLERK




                                                                                                 CHANGES MADE BY COURT
    Individual appearing without attorney
    Attorney for: Official Committee of Unsecured
 Creditors

                                           UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

 In re:                                                                       CASE NO.: 8:23-bk-10571-SC
                                                                              CHAPTER: 11
 THE LITIGATION PRACTICE GROUP, P.C.,
                                                                              ORDER:
                                                                                     GRANTING APPLICATION AND SETTING
                                                                                     HEARING ON SHORTENED NOTICE
                                                                                     DENYING APPLICATION FOR ORDER
                                                                                     SETTING HEARING ON SHORTENED
                                                                                     NOTICE
                                                                                              [LBR 9075-1(b)]
                                                               Debtor(s).

 Movant (name): Official Committee of Unsecured Creditors



1. Movant filed the following motion together with supporting declarations and (if any) supporting documents:

    a. Title of motion: JOINT MOTION OF THE CHAPTER 11 TRUSTEE AND OFFICIAL COMMITTEE OF
       UNSECURED CREDITORS FOR: (I) APPROVAL OF MODIFIED CONFIRMATION DEADLINES; (II)
       APPROVAL OF FORMS OF NOTICE AND BALLOTS RELATED TO CONFIRMATION; AND (III) ENTRY OF
       MODIFIED ORDER APPROVING FIRST AMENDED DISCLOSURE STATEMENT, CONFIRMATION
       PROCEDURES, AND GRANTING RELATED RELIEF

    b. Date of filing of motion: June 5, 2024

2. Pursuant to LBR 9075-1(b), movant also filed an Application for Order Setting Hearing on Shortened Notice
   (Application) together with supporting declaration(s):

    Date of filing of Application: June 5, 2024

           This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                            Page 1                             F 9075-1.1.ORDER.SHORT.NOTICE
159374516.1
         Case 8:23-bk-10571-SC                   Doc 1310
                                                     1304 Filed 06/06/24
                                                                06/05/24 Entered 06/06/24
                                                                                 06/05/24 08:23:48
                                                                                          17:09:38                                        Desc
                                                  Main
                                                   MainDocument
                                                        Document Page 7  2 of 15
                                                                              4

3. Based upon the court’s review of the application, it is ordered that:

    a.         The Application is denied. The motion may be brought on regular notice pursuant to LBRs.

    b.         The Application is granted, and it is further ordered that:

         (1)         A hearing on the motion will take place as follows:


                Hearing date: June 13, 2024                   Place:
                Time: 1:30 p.m.                                   255 East Temple Street, Los Angeles, CA 90012
                                                                  21041 Burbank Boulevard, Woodland Hills, CA 91367
                Courtroom: 5C
                                                                  3420 Twelfth Street, Riverside, CA 92501
                                                                  411 West Fourth Street, Santa Ana, CA 92701
                                                                  1415 State Street, Santa Barbara, CA 93101

         (2)         No later than the deadlines given, telephonic notice of the hearing must be provided to all
                     persons/entities listed:

                (A) Deadlines:                           (B) Persons/entities to be provided with telephonic notice:
                Date: June 6, 2024
                                                            Office of the United States Trustee, Greyson Law Center, PC, Han Trinh,
                Time: 12:00 p.m.                            Jayde Trinh, Debt Validation Fund II, LLC, MC DVI Fund 1, LLC, and MC
                                                            DVI Fund 2, LLC

                                                                  See attached page
                                                         (C) Telephonic notice is also required upon the United States trustee


         (3)         No later than the deadlines given, written notice of the hearing and a copy of this order must be
                     served upon all persons/entities listed using:       one of the methods checked         all of the
                     methods checked

               (A)        Personal Delivery              Overnight Mail                First class mail               Facsimile*              Email*

                (B) Deadlines:                           (C) Persons/entities to be served with written notice and a copy of this
                                                             order:
                Date: June 6, 2024

                Time: 12:00 p.m.                             Office of the United States Trustee, Greyson Law Center, PC, Han Trinh,
                                                             Jayde Trinh, Debt Validation Fund II, LLC, MC DVI Fund 1, LLC, and MC
                                                             DVI Fund 2, LLC

                                                                  See attached page
                                                         (D) Service is also required upon:
                                                             -- United States trustee (electronic service is not permitted)
                                                             -- Judge’s copy personally delivered to chambers
                                                                (see Court Manual for address)




          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                           Page 2                             F 9075-1.1.ORDER.SHORT.NOTICE
159374516.1
       Case 8:23-bk-10571-SC                   Doc 1310
                                                   1304 Filed 06/06/24
                                                              06/05/24 Entered 06/06/24
                                                                               06/05/24 08:23:48
                                                                                        17:09:38                                        Desc
                                                Main
                                                 MainDocument
                                                      Document Page 8  3 of 15
                                                                            4

        (4)       No later than the deadlines given, a copy of the motion, declarations, and supporting documents (if any),
                  must be served on all persons/entities listed using:        one of the methods checked       all of the
                  methods checked
              (A)      Personal Delivery       Overnight Mail          First Class Mail        Facsimile*      Email*

                (B) Deadlines:                         (C) Persons/entities to be served with motion, declarations, supporting
                    Date: June 6, 2024                     documents:

                    Time: 12:00 p.m.                    Office of the United States Trustee, Greyson Law Center, PC, Han Trinh,
                                                        Jayde Trinh, Debt Validation Fund II, LLC, MC DVI Fund 1, LLC, and MC
                                                        DVI Fund 2, LLC

                                                              See attached page
                                                       (D) Service is also required upon:
                                                           -- United States trustee (no electronic service permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)


        (5)         Regarding opposition to the motion

                    opposition to the motion may be made orally at the hearing

                    no later than the deadlines given, written opposition to the motion must be filed with the court and
                    served upon all persons/entities listed using:     one of the methods checked           all of the methods
                    checked
              (A)        Personal Delivery            Overnight Mail              First Class Mail                Facsimile*                Email*

                (B) Deadlines:                         (C) Persons/entities to be served with written opposition to the motion:
                    Date: June 12, 2024
                                                        Richard A. Marshack, in his capacity as chapter 11 trustee
                    Time: 3:00 p.m.                     Official Committee of Unsecured Creditors



                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)


        (6)         Regarding a reply to an opposition:

                    a reply to opposition may be made orally at the hearing.

                    no later than the deadlines given, a written reply to an opposition must be filed with the court and
                    served on all persons/entities listed using:        one of the methods checked           all of the methods
                    checked

              (A)        Personal Delivery            Overnight Mail              First Class Mail                Facsimile*                Email*




        This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                         Page 3                             F 9075-1.1.ORDER.SHORT.NOTICE
159374516.1
       Case 8:23-bk-10571-SC                   Doc 1310
                                                   1304 Filed 06/06/24
                                                              06/05/24 Entered 06/06/24
                                                                               06/05/24 08:23:48
                                                                                        17:09:38                                        Desc
                                                Main
                                                 MainDocument
                                                      Document Page 9  4 of 15
                                                                            4

                (B) Deadlines:                          (C) Persons/entities to be served with written reply to opposition:
                 Date:                                      -- All persons/entities who filed a written opposition

                 Time:
                                                        (D) Service is also required upon:
                                                            -- United States trustee (electronic service is not permitted)
                                                            -- Judge’s Copy personally delivered to chambers
                                                               (see Court Manual for address)


        (7)       Other requirements:


        (8)       No later than the deadlines given, movant must file a Declaration of Notice and Service establishing
                  that telephonic notice, written notice, and service of the motion and this order was completed as set forth
                  above, and a judge’s copy of the Declaration of Notice and Service must be personally delivered to the
                  judge’s chambers:

                         at least 2 days before the hearing.

                         no later than:         Date:                              Time:



    * Service by electronic means (facsimile or email) requires compliance with F.R.Civ.P. 5(b)(2)(E).

                                                                        ###




                Date: June 5, 2024




        This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2013                                                         Page 4                             F 9075-1.1.ORDER.SHORT.NOTICE
159374516.1
Case 8:23-bk-10571-SC              Doc 1310 Filed 06/06/24 Entered 06/06/24 08:23:48                Desc
                                    Main Document    Page 10 of 15


 1                                  PROOF OF SERVICE OF DOCUMENT
 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is 10250 Constellation Boulevard, Suite 900, Los Angeles, CA 90067.
 3
     A true and correct copy of the foregoing documents entitled: NOTICE OF HEARING ON JOINT
 4   MOTION OF THE CHAPTER 11 TRUSTEE AND OFFICIAL COMMITTEE OF UNSECURED
     CREDITORS FOR: (I) APPROVAL OF MODIFIED CONFIRMATION DEADLINES; (II) APPROVAL
 5   OF FORMS OF NOTICE AND BALLOTS RELATED TO CONFIRMATION; AND (III) ENTRY OF
     MODIFIED ORDER APPROVING FIRST AMENDED DISCLOSURE STATEMENT,
 6   CONFIRMATION PROCEDURES, AND GRANTING RELATED RELIEF on the judge in chambers in
     the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
 7
     1.    TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant
 8   to controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
     hyperlink to the document. On 6/6/2024, I checked the CM/ECF docket for this bankruptcy case or
 9   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
     receive NEF transmission at the email addresses stated below:
10
         •   Bradford Barnhardt bbarnhardt@marshackhays.com,
11
             bbarnhardt@ecf.courtdrive.com,alinares@ecf.courtdrive.com
         •   Eric Bensamochan eric@eblawfirm.us, G63723@notify.cincompass.com
12
         •   Michael Jay Berger michael.berger@bankruptcypower.com,
13           yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
         •   Ethan J Birnberg birnberg@portersimon.com, reich@portersimon.com
14       •   Peter W Bowie peter.bowie@dinsmore.com, caron.burke@dinsmore.com
         •   Ronald K Brown ron@rkbrownlaw.com
15       •   Christopher Celentino christopher.celentino@dinsmore.com, caron.burke@dinsmore.com
         •   Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
16       •   Randall Baldwin Clark rbc@randallbclark.com
         •   Leslie A Cohen leslie@lesliecohenlaw.com,
17           jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com
         •   Michael W Davis mdavis@dtolaw.com, ygodson@dtolaw.com
18       •   Anthony Paul Diehl anthony@apdlaw.net,
             Diehl.AnthonyB112492@notify.bestcase.com,ecf@apdlaw.net
19       •   Jenny L Doling jd@jdl.law,
             dolingjr92080@notify.bestcase.com;15994@notices.nextchapterbk.com;jdoling@jubileebk.net
20       •   Daniel A Edelman dedelman@edcombs.com, courtecl@edcombs.com
         •   Meredith Fahn fahn@sbcglobal.net
21
         •   William P Fennell william.fennell@fennelllaw.com,
22           luralene.schultz@fennelllaw.com;wpf@ecf.courtdrive.com;hala.hammi@fennelllaw.com;naomi.c w
             alinski@fennelllaw.com;samantha.larimer@fennelllaw.com
23       •   Alan W Forsley alan.forsley@flpllp.com, awf@fkllawfirm.com,awf@fl-
             lawyers.net,addy@flpllp.com
24       •   Marc C Forsythe mforsythe@goeforlaw.com,
             mforsythe@goeforlaw.com;dcyrankowski@goeforlaw.com
25       •   Jeremy Freedman jeremy.freedman@dinsmore.com, nicolette.murphy@dinsmore.com
         •   Eric Gassman erg@gassmanlawgroup.com, gassman.ericb112993@notify.bestcase.com
26       •   Christopher Ghio christopher.ghio@dinsmore.com,
             nicolette.murphy@dinsmore.com;angelica.urena@dinsmore.com;deamira.romo@dinsmore.com
27       •   Amy Lynn Ginsburg efilings@ginsburglawgroup.com
         •   Eric D Goldberg eric.goldberg@dlapiper.com, eric-goldberg-1103@ecf.pacerpro.com
28

     Active\118774763.v1-1/20/21
Case 8:23-bk-10571-SC     Doc 1310 Filed 06/06/24 Entered 06/06/24 08:23:48             Desc
                           Main Document    Page 11 of 15


 1       Jeffrey I Golden jgolden@go2.law,
          kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;dfitzgerald@go2.law;gol
 2        den.jeffreyi.b117954@notify.bestcase.com
         Richard H Golubow rgolubow@wghlawyers.com,
 3        jmartinez@wghlawyers.com;svillegas@wghlawyers.com
         Mark Mark Good mark@markgood.com
 4       David M Goodrich dgoodrich@go2.law,
          kadele@go2.law;dfitzgerald@go2.law;wggllp@ecf.courtdrive.com
 5
         D Edward Hays ehays@marshackhays.com,
 6        ehays@ecf.courtdrive.com;alinares@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoz
          a@ecf.courtdrive.com
 7       Alan Craig Hochheiser ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com
         Garrick A Hollander ghollander@wghlawyers.com,
 8        jmartinez@wghlawyers.com;svillegas@wghlawyers.com
         Brian L Holman b.holman@musickpeeler.com
 9       Richard L. Hyde rhyde@awglaw.com
         Peter L Isola pisola@hinshawlaw.com, rmojica@hinshawlaw.com,iking@hinshawlaw.com
10       Razmig Izakelian razmigizakelian@quinnemanuel.com
         Sara Johnston sara.johnston@dinsmore.com
11       Sweeney Kelly kelly@ksgklaw.com
         Joon M Khang joon@khanglaw.com
12       Ira David Kharasch ikharasch@pszjlaw.com
         Meredith King mking@fsl.law, ssanchez@fsl.law;jwilson@fsl.law
13       Nicholas A Koffroth nkoffroth@foxrothschild.com, khoang@foxrothschild.com
         David S Kupetz David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com
14
         Christopher J Langley chris@slclawoffice.com,
15        langleycr75251@notify.bestcase.com;ecf123@casedriver.com;john@slclawoffice.com
         Kelli Ann Lee Kelli.lee@dinsmore.com, kristy.allen@dinsmore.com
16       Matthew A Lesnick matt@lesnickprince.com,
          matt@ecf.inforuptcy.com;jmack@lesnickprince.com
17       Daniel A Lev daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com
         Britteny Leyva bleyva@mayerbrown.com,
18        2396393420@filings.docketbird.com;KAWhite@mayerbrown.com;ladocket@mayerbrown.com
         Marc A Lieberman marc.lieberman@flpllp.com, safa.saleem@flpllp.com,addy@flpllp.com
19       Michael D Lieberman mlieberman@lipsonneilson.com
         Yosina M Lissebeck Yosina.Lissebeck@Dinsmore.com, caron.burke@dinsmore.com
20       Mitchell B Ludwig mbl@kpclegal.com, kad@kpclegal.com
         Daniel S March marchlawoffice@gmail.com, marchdr94019@notify.bestcase.com
21       Kathleen P March kmarch@bkylawfirm.com, kmarch3@sbcglobal.net,kmarch@sbcglobal.net
         Mark J Markus bklawr@bklaw.com,
22        markjmarkus@gmail.com;markus.markj.r112926@notify.bestcase.com
         Richard A Marshack (TR) pkraus@marshackhays.com, ecf.alert+Marshack@titlexi.com
23       Laila Masud lmasud@marshackhays.com,
          lmasud@ecf.courtdrive.com;lbuchanan@marshackhays.com;alinares@ecf.courtdrive.com
24
         Sarah S. Mattingly sarah.mattingly@dinsmore.com
25       William McCormick Bill.McCormick@ag.tn.gov
         Kenneth Misken Kenneth.M.Misken@usdoj.gov
26       Byron Z Moldo bmoldo@ecjlaw.com, aantonio@ecjlaw.com,dperez@ecjlaw.com
         Glenn D. Moses gmoses@venable.com,
27        cascavone@venable.com;ipmalcolm@venable.com;jadelgado@venable.com
         Jamie D Mottola Jamie.Mottola@dinsmore.com, jhanawalt@ecf.inforuptcy.com
28       Alan I Nahmias anahmias@mbn.law, jdale@mbn.law
         Victoria Newmark vnewmark@pszjlaw.com
Case 8:23-bk-10571-SC            Doc 1310 Filed 06/06/24 Entered 06/06/24 08:23:48                    Desc
                                  Main Document    Page 12 of 15


 1          Jacob Newsum-Bothamley jacob.bothamley@dinsmore.com,
             angelica.urena@dinsmore.com;deamira.romo@dinsmore.com
 2          Queenie K Ng queenie.k.ng@usdoj.gov
            Israel Orozco israel@iolawcorp.com
 3          Keith C Owens kowens@foxrothschild.com, khoang@foxrothschild.com
            Lisa Patel lpatel@lesnickprince.com, jmack@lesnickprince.com;jnavarro@lesnickprince.com
 4          Michael R Pinkston rpinkston@seyfarth.com,
             jmcdermott@seyfarth.com,sfocalendar@seyfarth.com,5314522420@filings.docketbird.com,bankr
 5
             uptcydocket@seyfarth.com
 6          Douglas A Plazak dplazak@rhlaw.com
            Tyler Powell tyler.powell@dinsmore.com,
 7           jennifer.pitcock@dinsmore.com;rosetta.mitchell@dinsmore.com
            Daniel H Reiss dhr@lnbyg.com, dhr@ecf.inforuptcy.com
 8          Ronald N Richards ron@ronaldrichards.com, 7206828420@filings.docketbird.com
            Vanessa Rodriguez vanessa.rodriguez@dinsmore.com, angelica.urena@dinsmore.com
 9          Kevin Alan Rogers krogers@wellsmar.com
            Gregory M Salvato gsalvato@salvatoboufadel.com,
10           calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com
            Olivia Scott olivia.scott3@bclplaw.com
11          Jonathan Serrano jonathan.serrano@dinsmore.com
            Maureen J Shanahan Mstotaro@aol.com
12          Paul R Shankman PShankman@fortislaw.com, info@fortislaw.com
            Zev Shechtman Zev.Shechtman@saul.com,
13           zshechtman@ecf.inforuptcy.com;easter.santamaria@saul.com
            Jeffrey M Singletary jsingletary@swlaw.com, rmckay@swlaw.com
14
            Leslie Skorheim leslie.skorheim@usdoj.gov
            Adam D Stein-Sapir info@pfllc.com
15
            Howard Steinberg steinbergh@gtlaw.com, pearsallt@gtlaw.com;NEF-BK@gtlaw.com;howard-
16           steinberg-6096@ecf.pacerpro.com
            Andrew Still astill@swlaw.com, kcollins@swlaw.com
17          Michael R Totaro Ocbkatty@aol.com
            United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
18          William J Wall wwall@wall-law.com
            Sharon Z. Weiss sharon.weiss@bclplaw.com,
19           raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com
            Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com
20          Reina Zepeda rzepeda@omniagnt.com

21   2.     SERVED BY UNITED STATES MAIL: On 6/5/2024, I served the following persons and/or entities
     at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct
22   copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as
     follows.
23
     Debtor
24   The Litigation Practice Group P.C.
     17542 17th St., Suite 100
25   Tustin, CA 92780
                                 See attached for additional parties
26

27    3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION
     OR EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling
28   LBR, on 6/6/2024, I served the following persons and/or entities by personal delivery, mail service, or (for
     those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Case 8:23-bk-10571-SC            Doc 1310 Filed 06/06/24 Entered 06/06/24 08:23:48                        Desc
                                  Main Document    Page 13 of 15


 1   Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will
     be completed no later than 24 hours after the document is filed.
 2
      Served By Personal Delivery
 3
     The Honorable Scott C. Clarkson
 4   United States Bankruptcy Court, Central District of California
     411 West Fourth Street, Suite 5130 / Courtroom 5C
 5   Santa Ana, CA 92701-4593
 6
     Served by E-mail transmission
 7

 8   Office of the United States Trustee
     Kenneth M. Misken (Kenneth.M.Misken@usdoj.gov)
 9   Queenie K. Ng (Queenie.K.Ng@usdoj.gov)

10   Greyson Law Center, PC, Han Trinh, and Jayde Trinh
     Kathleen P. March (kmarch@BKYLAWFIRM.com)
11
     Debt Validation Fund II, LLC, MC DVI Fund 1, LLC, and MC DVI Fund 2, LLC
12   Richard Golubow (rgolubow@wghlawyers.com)

13
                                     Additional Parties Served by U.S. Mail
14
     Creditors who have the 20 largest unsecured claims
15
     Debt Validation Fund II, LLC
16   5075 Lower Valley Road,
     Atglen, PA 19310
17
     MC DVI Fund 1, LLC; MC
18   DVI Fund 2, LLC
     598 Cottonwood Dr.,
19   Glenview, IL 60026
20   Validation Partners LLC
     1300 Sawgrass Pkwy, Ste. 110
21   Sunrise, FL 33323
22   Marich Bein LLC
     99 Wall Street, Ste 2669
23   New York, NY 10005
24   Business Centers of America
     1100 Sir Francis Drake Blvd,
25   Ste 1, Kentfield, CA 94904
26   JP Morgan Chase
     3 Park Plaza, Ste 900
27   Irvine, CA 92614
28   CA Franchise Tax Board
     PO Box 942857
     Sacramento, CA 94257-0511
Case 8:23-bk-10571-SC         Doc 1310 Filed 06/06/24 Entered 06/06/24 08:23:48   Desc
                               Main Document    Page 14 of 15


 1
     Outsource Accelerator Ltd
 2   City Marque Limited
     Unit 8801-2 Bldg. 244-248
 3   Des Voeux Rd.
     Central Hong Kong
 4
     Collaboration Advisors
 5   400 Dorla Court
     Zephyr Cove, NV 89448
 6

 7   Anthem Blue Cross
     PO Box 511300
 8   Los Angeles, CA 90051-7855
 9   Azevedo Solutions Groups, Inc.
     420 Adobe Canyon Rd.
10   Kenwood, CA 95452
11   Debt Pay Pro
     1900 E Golf Road, Suite 550
12   Schaumburg, IL 60173
13   Sharp Business Systems
     8670 Argent St
14   Santee, CA 92071
15   Tustin Executive Center
     1630 S Sunkist Steet, Ste A
16   Anaheim, CA 92806
17   Exela Enterprise Solutions
     2701 E. Grauwyler Road
18   Irving, TX 75061
19   Netsuite-Oracle
     2300 Oracle Way
20   Austin, TX 78741
21   Credit Reporting Service Inc
     548 Market St, Suite 72907
22   San Francisco, CA 94104-5401
23   Document Fulfillment Services
     2930 Ramona Ave #100
24   Sacramento, CA 95826
25   Executive Center LLC
     5960 South Jones Blvd
26   Las Vegas, NV 89118
27   LexisNexus
     15500 B Rockfield Blvd
28   Irvine, CA 92618
Case 8:23-bk-10571-SC           Doc 1310 Filed 06/06/24 Entered 06/06/24 08:23:48                        Desc
                                 Main Document    Page 15 of 15


 1   Secured Creditors
 2   Diverse Capital LLC
     323 Sunny Isles Blvd., Suite 503
 3   Sunny Isles, FL 33154
 4   City Capital NY
     1135 Kane Concourse
 5   Bay Harbour Islands, FL 33154
 6

 7   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 8   6/6/2024              Kimberly Hoang                                   /s/ Kimberly Hoang
 9       Date                    Printed Name                                            Signature

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
